     Case 4:08-cr-00016-TSL-JCS            Document 30       Filed 02/27/09      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA

v.                                                    CRIMINAL NO. 4:08cr16TSL-JCS

MARK DELASH BUTLER, JR.

                                    ORDER OF DISMISSAL
                                         COUNT 2

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Count 2 of the Criminal Indictment against the defendant, MARK DELASH BUTLER,

without prejudice.


                                                      STAN HARRIS
                                                      Acting United States Attorney



Date:    February 27, 2009                            By:s/ Erin O. Chalk
                                                      Assistant U. S. Attorney

        Leave of Court is granted for the filing of the foregoing dismissal of Count 2.

        ORDERED this the 27th day of February, 2009.



                                                      /s/Tom S. Lee
                                                      UNITED STATES DISTRICT JUDGE
